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     In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                     Filed: November 18, 2015

*  * *    *           *     *    *     *     *    *
SCOTT TESTA,                                      *
                                                  *
                                                  *        No. 13-524V
                Petitioner,                       *
                                                  *
v.                                                *        Special Master Gowen
                                                  *
SECRETARY OF HEALTH                               *        Vaccine Rule 21(a); Joint Stipulation of
AND HUMAN SERVICES,                               *        Dismissal; Voluntary Dismissal
                                                  *
                Respondent.                       *
                                                  *
*     *    *    *     *     *    *     *     *    *

                              ORDER CONCLUDING PROCEEDING1

        On November 17, 2015, the parties filed a joint notice of voluntary dismissal pursuant to
Vaccine Rule 21(a)(1)(B). The parties stipulate to voluntary dismissal of the above-captioned
case, and request that the dismissal be with prejudice.

        Accordingly, pursuant to Vaccine Rule 21(a), the above-captioned case is hereby
dismissed with prejudice. The Clerk of the Court is hereby instructed that a judgment shall not
enter in the instant case pursuant to Vaccine Rule 21(a).

          IT IS SO ORDERED.

                                                  s/Thomas L. Gowen
                                                  Thomas L. Gowen
                                                  Special Master




1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party
has 14 days within which to request redaction “of any information furnished by that party: (1) that is a
trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).
